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AO91 (Rev. 12/03) Criminal Complaint                                                          AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                      CRIMINAL COMPLAINT
            vs.
                                                                              Case Number: 1:18-po-2431
Wilmer Esteban PEREZ-Martinez
A215 774 712 Nicaragua




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about           July 13, 2018         in                   Hidalgo                  County, in

the                                         Southern District Of Texas                                            defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                           1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                      and that this complaint is based on the
following facts:
The defendant was apprehended in Hidalgo, Texas on July 13, 2018. The defendant is a citizen of Nicaragua who entered the
United States illegally by wading across the Rio Grande River near Hidalgo, Texas on July 13, 2018 thus avoiding immigration
inspection.

At time of arrest, subject had $160.00 U.S. dollars in his possession.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                  Yes             No


                                                                               /S/ Mancillas, Jose M. Border Patrol Agent
                                                                               Signature of Complainant

                                                                               Mancillas, Jose M.         Border Patrol Agent
                                                                               Printed Name of Complainant
Sworn to before me and signed in my presence,

July 15, 2018                                                            at    Brownsville, Texas
Date                                                                           City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                    Signature of Judge
